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                                   UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF Delaware



In re: PES Administrative Services, LLC                           §                 Case No. 19-11629
                                                                  §
                                                                                    Lead Case No. 19-11629
                                                                  §
                      Debtor(s)                                   §                      Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 09/30/2022                                                            Petition Date: 07/21/2019



Plan Confirmed Date:02/13/2020                                                       Plan Effective Date: 06/26/2020


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: PES Liquidating Trust
                                                                                  Name of Authorized Party or Entity




/s/ Peter J. Keane                                                      Peter J. Keane
Signature of Responsible Party                                           Printed Name of Responsible Party
10/07/2022
                                                                        Pachulski Stang Ziehl & Jones LLP
Date                                                                    919 North Market St #1700
                                                                        Wilmington DE 19801
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                                $0                   $0
 b. Non-cash securities transferred                                                                         $0                   $0
 c. Other non-cash property transferred                                                                     $0                   $0
 d. Total transferred (a+b+c)                                                                               $0                   $0

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0            $0             $0              $0
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i                                                                               $0            $0             $0              $0
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
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        xxvi
        xxvii
        xxviii
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        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi
        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii
        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi
        lvii
        lviii
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        lx
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        lxiii
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        lxvii
        lxviii
        lxix
        lxx
        lxxi

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        lxxxvi
        lxxxvi
        lxxxix
        xc
        xci
        xcii
        xciii
        xciv
        xcv
        xcvi
        xcvii
        xcviii
        xcix
        c
        ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor            Aggregate Total
                                                                                       $0            $0             $0           $0
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i                                                                              $0            $0             $0           $0
        ii
        iii
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        v
        vi


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        vii
        viii
        ix
        x
        xi
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        xiii
        xiv
        xv
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        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
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        xxx
        xxxi
        xxxii
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        xxxiv
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        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii

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        xlix
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        lii
        liii
        liv
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        lvi
        lvii
        lviii
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        lx
        lxi
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        lxiii
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        xc

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            xci
            xcii
            xciii
            xciv
            xcv
            xcvi
            xcvii
            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                         $0             $0           $0            $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                   % Paid of
                                                  Payments            Paid Current                                             Allowed
                                                 Under Plan             Quarter           Paid Cumulative    Allowed Claims     Claims
 a. Administrative claims                                      $0                $0                    $0                $0          0%
 b. Secured claims                                             $0                $0                    $0                $0          0%
 c. Priority claims                                            $0                $0                    $0                 $0         0%
 d. General unsecured claims                                   $0                    $0                $0                 $0         0%
 e. Equity interests                                           $0                $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                             Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                   Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Rachel Celiberti                                                  Rachel Celiberti
Signature of Responsible Party                                         Printed Name of Responsible Party
Chief Financial Officer                                                10/07/2022
Title                                                                  Date




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                                                   Non-Bankruptcy Table 1-50




                                                  Non-Bankruptcy Table 51-100




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